
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NOS. 2-05-292-CR

2-05-293-CR

2-05-294-CR

2-05-295-CR
	





GLENDA ALLISON HALL	 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM THE 213
TH
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant’s Motion To Withdraw Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See
 
Tex. R. App. P. 42.2(
a
),
 43.2(f). 																																									PER CURIAM





PANEL D:	
DAUPHINOT, HOLMAN, and GARDNER
, JJ.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: February 2, 2006							

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




